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     Attorney for Candy Wu
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7                                     UNITED STATES DISTRICT COURT
8                                     EASTERN DISTRICT OF CALIFORNIA
9

10                                                   )   No. CR-2:08-CR-00064-MCE
     UNITED STATES OF AMERICA,                       )
11                                                   )   STIPULATION AND ORDER TO
                     Plaintiff,                      )   CONTINUE THE MAY 10, 2012
12                                                   )   SENTENCING DATE TO AUGUST 9, 2012
            Vs.                                      )
13                                                   )   Honorable Morrison C. England
     CANDY WU,                                       )
14                                                   )
                     Defendant.                      )
15                                                   )
                                                     )
16                                                   )
                                                     )
17                                                   )
                                                     )
18
        IT IS HEREBY STIPULATED by and between Assistant United States Attorney, Michael
19
     Beckwith, counsel for the Plaintiff, and Defendant Candy Wu, by her Counsel, Steven F. Gruel,
20
     that the Sentencing Date currently scheduled for May 10, 2012, at 9:00 a.m., is continued to
21
     August 9, 2012 at 9:00 a.m., or as soon thereafter as is convenient for the Court.
22
             The Court interpreter coordinator, Yolanda Riley Portal, and the United States probation
23
     Officer assigned to this case has been notified of this continuance and has indicated that August
24
     9, 2012, is an available date.
25
                           STIPULATION AND ORDER TO CONTINUE
26                               THE MAY 10, 2012, SENTENCING DATE
                                Case 2:08-cr-00064-MCE Document 162 Filed 05/10/12 Page 2 of 2



1                               IT IS SO STIPULATED.

2
     Dated: May 3, 2012                            __/s/_________________
3                                                   STEVEN F. GRUEL
                                                    Attorney for Candy Wu
4

5
     Dated: May 3, 2012                             _/s/__________________
6                                                   MICHAEL BECKWITH
7
                                                    Attorney for United States of America

8

9
                                                               ORDER
10

11
                            IT IS SO ORDERED.
12

13                Dated: May 9, 2012

14                                                          __________________________________
                                                            MORRISON C. ENGLAND, JR
15                                                          UNITED STATES DISTRICT JUDGE
16

17   DEAC_Signatu re-END:




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25
                                          STIPULATION AND ORDER TO CONTINUE
26                                              THE MAY 10, 2012, SENTENCING DATE
